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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF NEW YORK


                                    .            Case No. 09-50026-mg
      IN RE:                        .            Chapter 11
                                    .
      MOTORS LIQUIDATION COMPANY,   .            (Jointly administered)
      Et al., f/k/a GENERAL         .
      MOTORS CORP., et al,          .            One Bowling Green
                                    .            New York, NY 10004
                     Debtors.       .
                                    .            Wednesday, December 6, 2017
      . . . . . . . . . . . . . . . .            4:02 p.m.


                TRANSCRIPT OF HEARING RE: TELEPHONE CONFERENCE,
                       ON THE RECORD, REGARDING DISCOVERY
                        BEFORE THE HONORABLE MARTIN GLENN
                      UNITED STATES BANKRUPTCY COURT JUDGE


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    1          (Proceedings commence at 4:02 p.m.)

    2               THE COURT:     All right.     This is Judge Glenn.       We're

    3 on the record in Motors Liquidation Company, 09-50026.                 I have

    4 the list of appearances in front of me.             Who's going to begin?

    5               MR. GONZALES:       Good afternoon, Judge Glenn.        This is

    6 Rudy Gonzales.       I'm the partner of Bob Hilliard representing

    7 the signatory plaintiffs.          With your permission, I just

    8 would -- this is a very limited area of inquiry.

    9               There was a meeting held on August the 15th between

  10 the GUC Trust and New General Motors.              And at that meeting

  11 there were different individuals. One of the individuals who

  12 attended the meeting was a gentleman -- an attorney by the name

  13 of Keith Martorana with the law firm of Gibson Dunn, the Gibson

  14 Dunn law firm representing the GUC Trust.               And he testified in

  15 his deposition that he took notes during the meeting.                  And we

  16 have asked for those notes, the plaintiffs have.                 And I believe

  17 that the trust is asserting a work product privilege to those

  18 notes.

  19                And the issue for today, Your Honor, is simply

  20 whether or not the trust should turn over those notes taken

  21 during the meeting to the plaintiffs.              And that's it in a

  22 nutshell.       I'll stop for a moment in case the Court -- I mean,

  23 I have an argument to make on why the notes should be produced,

  24 but I'll stop for right now unless the Court wants me to

  25 proceed.




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    1               THE COURT:     No.   Let me put a few facts on the

    2 record.      At my request, Gibson Dunn delivered to chambers for

    3 in-camera review six pages of handwritten notes which were

    4 represented to be Mr. Martorana's notes from the August 15th

    5 meeting.      And I've -- I guess I got that -- I think it was at

    6 the end of last week.         Today, deposition transcripts and

    7 exhibits and voluminous materials for the trial, both sides'

    8 exhibits, copy of the joint -- proposed joint pretrial order

    9 were delivered.       And among the materials is the deposition

  10 transcript of Keith Martorana.            And it relates to the

  11 deposition on November 20, 2017, of Mr. Martorana.                 And it has

  12 the designations and counter-designations of the parties

  13 indicated -- highlighted in color.

  14                I have -- this afternoon, I read the portions of the

  15 transcript of Mr. Martorana that relate to the meeting with

  16 Gibson Dunn as to which this controversy relates.                 And I

  17 certainly see in the transcript where Mr. Martorana

  18 acknowledges that he took notes during the meeting.                 So for

  19 everybody's benefit, I have read -- I -- my focus in the

  20 transcript was the portion of the transcript that related to

  21 that meeting at Gibson Dunn.

  22                And I also have reviewed the handwritten notes of

  23 Mr. Martorana.        Written at the top of the first page is subject

  24 to Federal Rule of Evidence 408, but -- so I had asked for and

  25 did receive the -- those notes for in-camera review and I have




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    1 had the opportunity to do that.

    2               Mr. Gonzales, why don't you go on and --

    3               MR. GONZALES:       Yes.

    4               THE COURT:     -- make your argument.

    5               MR. GONZALES:       Yes, Your Honor.     Thank you.     And so

    6 with that background, Your Honor, the reason that these notes

    7 would not fall within the protected category is -- number one,

    8 is that the GUC Trust simply would not be able to assert or

    9 establish that these notes were taken in anticipation of

  10 litigation.       The rule that the -- Federal Rules of Civil

  11 Procedure 26(b)(3) specifically addresses when attorneys' notes

  12 might be protected.         And they relate specifically to

  13 anticipation of litigation.           And I'm sure the Court has heard

  14 various arguments in that regard, but it's a very tight and

  15 strict interpretation of what anticipation of litigation would

  16 mean.       And it simply would not apply here.

  17                This August 15th meeting was simply a meeting in the

  18 regular course of business between the GUC Trust and New

  19 General Motors presumably to discuss the settlement agreement

  20 that we believe that the GUC Trust had met -- or had entered

  21 into with the plaintiffs.           And of course there's a dispute

  22 about the -- whether or not it's -- that agreement is a binding

  23 agreement.       But nonetheless, that was the purpose of that

  24 meeting.       It was not for the purpose or anything related to

  25 anticipating litigation between the plaintiffs and the trust,




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    1 or anyone else for that matter.           New General Motors wanted to

    2 attempt to dissuade the GUC Trust from holding on to the

    3 agreement that they had entered into the -- with the plaintiffs

    4 and that was the purpose of that meeting.              So we believe that

    5 the first step -- the first requirement or proof requirement,

    6 which would be by the party attempting to assert the privilege,

    7 the work product privilege, cannot be met because that meeting

    8 was not in anticipation of litigation.

    9               If the Court were to believe or to hold that in fact

  10 the meeting was in anticipation of litigation, there is a

  11 second prong by which then we would ask the Court to perhaps

  12 consider protecting the part of the notes which may contain

  13 mental impressions, conclusions, opinions, or legal theories,

  14 separate out those parts of the notes from parts which are

  15 merely factual in nature.           For example, this person said this

  16 or this person said this.           In other words, where the notes

  17 simply indicate who is saying what in the meeting.                 Because

  18 that -- we -- it would be our -- you know, our position that

  19 those would not be protected as mental impressions but simply a

  20 statement of who was saying what in the meeting.

  21                And frankly, Your Honor, that's where we are.             We

  22 don't believe they're protected because this meeting was not in

  23 anticipation of any litigation, much less any specific

  24 litigation with the plaintiffs.            And second of all, if the

  25 Court were not to agree on that position, then we would like




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    1 those portion of the notes which are not mental impressions of

    2 Mr. Martorana.

    3               THE COURT:     Let me ask you a couple of questions,

    4 Mr. Gonzales.        Let's assume that I conclude that the notes were

    5 prepared in anticipation of litigation.             And I appreciate what

    6 you said about suggesting redaction of mental impressions,

    7 opinions, et cetera.         But 26(b)(4) has a second prong that

    8 requires, Romanette (ii):

    9               "That the party shows that it has substantial need

  10                for the materials to prepare its case and cannot,

  11                without undue hardship, obtain their substantial

  12                equivalent by other means."

  13                So that -- assuming that the notes were prepared in

  14 anticipation of litigation and the opinions, mental impressions

  15 get excluded, redacted out, you would have to acknowledge that

  16 you have to satisfy the second prong.              You have to show the

  17 substantial need.         Do you agree with that?

  18                MR. GONZALES:       Yes, Your Honor.     I believe that is

  19 the correct analysis.          Although there are courts that -- some

  20 courts and opinions that would even suggest that not all

  21 mental impressions are necessarily protected.                It's not a carte

  22 blanche absolute.         But under -- I think the Court is correct.

  23 Under these circumstances, if the Court were to hold that the

  24 notes were prepared in anticipation of litigation, then one

  25 would then turn its analysis to the substantial need aspect




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    1 of -- you know, by the plaintiffs.

    2               And of course, in this particular case the main issue

    3 and the main dispute of this particular litigation or the main

    4 dispute that we have is any comments or suggestions or

    5 indications about the "binding agreement" or whether or not the

    6 agreement was binding and what people were saying or commenting

    7 about that.      And so that, of course, is of particular

    8 importance.      It's very much relevant to the issue at hand.               And

    9 we would certainly believe that that would be -- it would -- if

  10 there are such notes about whether or not the agreement was

  11 binding, well those -- that would be the best indication of

  12 what GUC was thinking at the time that they were meeting with

  13 New GM.

  14                THE COURT:     Okay.    Anything else you want to add,

  15 Mr. Gonzales?

  16                MR. GONZALES:       Not right now, Your Honor.       Thank you.

  17                THE COURT:     All right.     Who's going to argue in

  18 support of protection for the notes?

  19                MR. KARLAN:     With Your Honor's permission, I will,

  20 Your Honor.       It's Mitch Karlan from Gibson Dunn & Crutcher.               On

  21 the question of anticipation of litigation, Your Honor had

  22 said -- advised everyone that the first line of the notes is

  23 that the notes indicate that the parties agreed that the

  24 conversation was being held under the Federal Rules of

  25 settlement agreement -- the settlement negotiation rule.                  I




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    1 suggest that that's the best and only necessary evidence that

    2 we need.

    3               And the entire meeting and certainly the notes were

    4 taken in anticipation of litigation.             I think that also --

    5               THE COURT:     Well, let me express my skepticism about

    6 that, only because it's sort of common practice for people to

    7 write that.      And I have to say, of course, I only have a copy

    8 of the notes, but the "subject to FRE 408," which is

    9 underlined, appears somewhat less dark than the rest of the

  10 notes.       So I can't tell -- I'm not deciding this on the basis

  11 of those notes.        I don't know when that was written on the

  12 notes.       And I -- that -- I don't think that's going to make a

  13 difference in where I come out.            So why don't you go on with

  14 your argument, Mr. Karlan.

  15                MR. KARLAN:     Okay.    I don't have Mr. Martorana's

  16 deposition transcript in front of me, nor do I have

  17 Mr. William's transcript in front of me.              But both of them were

  18 examined extensively on the reasons for the meeting, the way in

  19 which it was set up, what everyone's anticipation of the

  20 meeting was before it took place, and then also what occurred

  21 and was said at the meeting.            And my recollection -- I'm sure

  22 Rudy will correct me if I'm misstating it -- my recollection is

  23 the testimony was to the effect that there's been litigation

  24 for many, many months involving the plaintiffs and the

  25 GUC Trust about the late claims motions and the meeting was to




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    1 discuss that litigation and the publicly-announced intention of

    2 New GM to further litigate objections if in fact the plaintiffs

    3 and the GUC Trust were to proceed with the settlement that --

    4 the draft, which had been by then disclosed to counsel for

    5 New GM.

    6               So I would respectfully suggest that there would be

    7 no basis here for concluding that the notes were taken other

    8 than in anticipation of litigation.            I don't know --

    9 Mr. Gonzales made the remark that this meeting was in the

  10 ordinary course.         I'm not aware that there's ever been a

  11 meeting other than this between counsel for the GUC Trust and

  12 counsel for New GM on this subject.             There's certainly nothing

  13 in the record to suggest there's ever been such a meeting.                  So

  14 I don't -- I'm not sure what ordinary course he's referring to.

  15                Unless Your Honor has more questions about that

  16 prong, I'll proceed to the burden issue.              Mr. --

  17                THE COURT:     Go ahead.

  18                MR. KARLAN:     I'm sorry.     Go ahead, Judge.

  19                THE COURT:     No.   Go ahead.

  20                MR. KARLAN:     Mr. Matthews and Mr. Martorana were both

  21 deposed at significant length about the content of this

  22 meeting.       Your Honor may recall that the last time we were all

  23 together Your Honor directed in response to certain questions

  24 that had come up and instructions not to answer that I had

  25 given at Mr. Matthew's deposition -- sorry, Mr. William's




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    1 deposition, excuse me -- that Your Honor wanted a full record

    2 of what had happened at that meeting.              And so Mr. Williams was

    3 deposed a second time.          And I -- and every question to my

    4 memory was answered without any objections or instructions

    5 about everything that was said at the meeting.

    6               Again, Rudy, please correct me if I'm misstating

    7 that.

    8               I think under those circumstances there's no

    9 possibility of demonstrating substantial need even as to any

  10 portion of the notes that Your Honor were to conclude were not

  11 mental impressions.          And I would respectfully suggest that

  12 they're all mental impressions and so therefore the burden

  13 issue is irrelevant, because if they're mental impressions

  14 they're absolutely protected.

  15                That's all I had, unless you had questions, Judge.

  16                THE COURT:      No, I don't.

  17                Does anybody else want to be heard?

  18                Okay.    While I haven't had any briefing with respect

  19 to the issue about the notes, I believe I'm reasonably familiar

  20 with the applicable legal principles.               As I said earlier, I

  21 reviewed the six pages of handwritten notes.                I also today

  22 reviewed the deposition transcript of Keith Martorana.                   And a

  23 significant portion of the deposition involves questions of

  24 Mr.       Martorana about who said what to whom during the meeting

  25 on August 15.         So I believe that I don't need any supplemental




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    1 briefing in order to resolve the issue.

    2               So this is a discovery dispute relating to six pages

    3 of handwritten notes prepared by Keith Martorana of Gibson

    4 Dunn, one of the lawyers for the GUC Trust, during a meeting

    5 with lawyers for New GM discussing the proposed settlement

    6 agreement between the plaintiffs and the GUC Trust.                Who said

    7 what to whom during the meeting is highly relevant and material

    8 to the issues that will be the subject of the trial scheduled

    9 for December 18, 19, and 20, 2017.

  10                My review of the notes leads me to conclude that the

  11 notes include a combination of verbatim or nearly verbatim

  12 recording of what New GM's lawyers said during the meeting, as

  13 well as less so what appears to be Mr. Martorana's mental

  14 impressions and opinion work product about the legal issues

  15 arising from the subjects discussed at the meeting.                 Under

  16 Rule 26(b)(3), a party may not discover documents prepared in

  17 the anticipation of litigation unless:

  18                "The party shows that it has substantial need for the

  19                materials to prepare its case and cannot, without

  20                undue hardship, obtain the substantial equivalent by

  21                other means."

  22                Federal Rule of Civil Procedure 26(b)(3)(A) provides:

  23                "Ordinarily, a party may not discover documents and

  24                tangible things that are prepared in anticipation of

  25                litigation or for trial by or for another party or




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    1               its representative (including the other party's

    2               attorney, consultant, surety, indemnitor, insurer, or

    3               agent).    But, subject to Rule 26(b)(4), those

    4               materials may be discovered if" --

    5               And I'll skip Romanette (I).         Romanette (ii):

    6               -- "the party shows that it has substantial need for

    7               the materials to prepare its case and cannot, without

    8               undue hardship, obtain their substantial equivalent

    9               by other means.

  10                "If the Court orders discovery of those materials, it

  11                must protect against disclosure of mental

  12                impressions, conclusions, opinions, or legal theories

  13                of a party's attorney or other representative

  14                concerning the litigation."

  15                See Federal Rule of Civil Procedure 26(b)(3)(B).

  16                At a minium, that would require a redaction of notes

  17 if any of them must be produced.             Here, of course, the

  18 participants in the meeting can be and probably already have

  19 been -- certainly Mr. Martorana was -- deposed about who said

  20 what to whom during the meeting.             Plaintiffs' counsel, who were

  21 not present at the meeting, no doubt wants to use the notes in

  22 an effort to impeach or cause witnesses at trial to elaborate

  23 on their deposition testimony.

  24                In the context in which the meeting took place, the

  25 Court concludes that the notes were prepared in contemplation




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    1 of litigation and would not have been prepared for any other

    2 reason.      New GM had publicly announced and certainly had

    3 indicated at the point when I was told that settlement

    4 discussions were going on and Arthur Steinberg told me New GM

    5 lawyers were excluded from it, he made clear that New GM would

    6 oppose any settlement reached by the plaintiffs and the

    7 GUC Trust.      So that and reading the deposition transcript and

    8 reviewing the notes, the Court concludes that the meeting and

    9 the purpose of preparing the notes was in anticipation of the

  10 contemplation of litigation and would have not -- would not

  11 have been prepared for any other reason.

  12                Therefore, the Court concludes that the notes are

  13 protected under the work product doctrine unless the protection

  14 has been waived.         The issue then becomes whether some or all of

  15 the notes other than mental impressions, conclusions, et

  16 cetera, should nevertheless be required to be produced.                  The

  17 conversations between counsel for plaintiffs and the GUC Trust

  18 recorded in the notes are not privileged.               The information is

  19 discoverable if it is relevant to any party's claim or defense

  20 as proportional to the needs of the case.               No issue of

  21 proportionality is raised with respect to these six pages of

  22 notes, nor could it in my view.            The notes of the meeting

  23 therefore are not protected by attorney/client privilege.

  24                To the extent the notes contain verbatim or nearly

  25 verbatim recitation of who said what to whom during the




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    1 meeting, the notes are relevant and material and subject to

    2 discovery unless protected by work product protection.                 It is

    3 expected that the GUC Trust will offer evidence at trial of its

    4 version of who said what to whom during the meeting.                 The

    5 question arises whether such testimony waives work product

    6 protection with respect to the notes.

    7               With respect to the waiver analysis, the decision in

    8 Granite Partners, LP v. Bear, Stearns & Co., 184 F.R.D. 49

    9 (S.D.N.Y. 1999), appears to remain an accurate statement of the

  10 law in this circuit.          The court in Granite Partners stated

  11 that:

  12                "The work product privilege is waived when a party to

  13                a lawsuit uses it in an unfair way that is

  14                inconsistent with the principles underlying the

  15                doctrine of privilege."

  16                It then goes on:

  17                "It is well settled that waiver may be imposed when

  18                the privilege holder has attempted to use privilege

  19                as both sword and shield.        A privilege may be

  20                impliedly waived where a party makes assertions in

  21                the litigation or asserts a claim that in fairness

  22                requires examination of protected communications."

  23                Skipping forward, Judge Sweet said: "Waiver typically

  24 occurs when the party asserting the privilege places the

  25 protected documents at issue through some affirmative act




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    1 intended to assure [sic]" -- "to ensure to the [sic]" -- to

    2 enure" -- there's a typo in the opinion -- "to enure to that

    3 party's benefit or where the party makes selective use of the

    4 privileged materials."

    5               In our case, from what I've read, the GUC Trust has

    6 not used and is not likely to use notes the notes offensively

    7 or otherwise.        In Granite Partners, the court focused on

    8 whether, quote, "The party's use of the document is unfair and

    9 inconsistent with the claim of privilege."

  10                Referring to the Granite Partners, Judge Sweet said:

  11                "In case at bar, the unfairness rises out of the

  12                LAB's possible use of allegedly privileged interview

  13                notes to impeach witnesses by reference to testimony

  14                they gave more than four years ago."

  15                The court in Granite Partners emphasized that:

  16                "Finally, pursuant to Rule 26(b)(3), to the extent

  17                the documents come under the umbrella of work

  18                product, they may be subject to discovery upon a

  19                showing that the party seeking discovery has

  20                substantial need of the materials in the preparation

  21                of the party's case and that the party is unable

  22                without undue hardship to obtain the substantial

  23                equivalent of the materials by other means."

  24                Back to this case.       At this stage of the litigation,

  25 the plaintiffs have not demonstrated substantial need for




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    1 production of the notes.          All of the participants at the

    2 meeting have or can be deposed.           If the notes are used to

    3 refresh recollection in preparing for deposition or for trial,

    4 the work product protection will thereby be waived.

    5               I must say, after reading the deposition transcript

    6 of Mr. Martorana, frankly, I thought that his deposition

    7 testimony was frankly more fulsome than the somewhat cryptic

    8 notes he had.        Consequently, I have no difficulty in concluding

    9 that the plaintiffs have not shown substantial need for

  10 production of these notes.            Consequently, the work product

  11 privilege is sustained and the objection is overruled.

  12                Anything else for today?

  13                MR. KARLAN:     Not from the GUC Trust.

  14                THE COURT:     All right.     Anybody else?

  15                MR. GONZALES:       No, Your Honor.    I believe that's it,

  16 Your Honor.

  17                THE COURT:     Okay.    So I've gotten -- obviously not

  18 relating to this discovery dispute, I've gotten the proposed

  19 joint pretrial order, which I've reviewed.               I still have a lot

  20 of exhibits to review.          I was somewhat surprised and a little

  21 taken aback by all of the objections that have been asserted by

  22 each side.       I would certainly -- before we have the final

  23 pretrial conference, I -- you know, I would suggest get real.

  24 This is a bench trial.          It seems to me that, for example, a lot

  25 of the hearsay exhibits -- it will very much depend on the




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    1 purpose for which exhibits are being offered.               So I would ask

    2 that both sides confer before the pretrial, think through

    3 whether each side wants to carry forward each of the objections

    4 that have been asserted.          If necessary, I will rule on them,

    5 obviously.

    6               But, you know, I think -- on the whole, I think you

    7 did a very good job with the pretrial order.              I still have to

    8 go through some more of the exhibits to the pretrial order.

    9 And I certainly have not been through all of the exhibits.                 The

  10 only deposition I've looked at is the transcript of Keith

  11 Martorana.       I appreciate the way it was done, color coding the

  12 designations and counter-designations.

  13                So I will see you all at the final pretrial.             We're

  14 adjourned.

  15                MR. GONZALES:       Thank you, Your Honor.

  16                MR. KARLAN:     Thank you, Judge.

  17                THE COURT:     Okay.

  18                MR. KARLAN:     Thank you.

  19           (Proceedings concluded at 4:29 p.m.)

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                                                                                  19

    1                          C E R T I F I C A T I O N

    2

    3               I, Liesl Springer, court-approved transcriber, hereby

    4 certify that the foregoing is a correct transcript from the

    5 official electronic sound recording of the proceedings in the

    6 above-entitled matter, and to the best of my ability.

    7

    8

    9 ____________________________

  10 LIESL SPRINGER, AAERT NO. 685                DATE:   December 8, 2017

  11 ACCESS TRANSCRIPTS, LLC

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  15                           C E R T I F I C A T I O N

  16

  17                I, Lisa Luciano, court-approved transcriber, hereby

  18 certify that the foregoing is a correct transcript from the

  19 official electronic sound recording of the proceedings in the

  20 above-entitled matter.

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  23 ____________________________

  24 LISA LUCIANO, AAERT NO. 327               DATE:    December 8, 2017

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